Mark Cole, et al. v. Colonial Penn Life Insurance Company et al. (State Case No.: 23CV012045)




                                Exhibit
                                  C




DEFENDANT COLONIAL PENN LIFE INSURANCE COMPANY’S NOTICE OF REMOVAL
             ATTORNEY OR PARTY WITHGUT ATTORNEY (Name, State Bar nuinber, and address}:
                                                                                                                                                                       QDAD41                   6
                                                                                                                                                                                                    A+            At    CM-016
             Todd M. Friedman, SBN 216752, Law Offices of Todd M. Friedman, P.C.                                                                                Filed Tot BIA        L
             21031 Ventura Bivd., Suite 340, Woodland Hills, CA 91364
                                                                                                                                                                 Superior Court of Cailfornia
                              TELEPHGNE NO. 323-306-4234                              FAXNO. (Optional. 866-633-0228                                              Sacramento
                              E-MAIL ADDRESS: tfriedman@toddflaw.com
                   ATTORNEY FOR (Name): Plaintiff, Mark Cole                                                                                                      41 22023

             SUPERIOR COURT OF CALIFORNIA,                            COUNTY     OF    SACRAMENTO                                                                 joh osok
              STREET ADORESS: 720 9th Street
              MAILING ADDRESS: 720 9th Street, Room 102                                                                                                           Gy                                     _,            Deputy
             CITY AND ZIPC             : Sacramento, 95814                                                                                                        PAICVATPAAS
                        SRaNCH NAME: Gordon D. Schaber Courthouse
             CASE NAME:
              Mark Cole v. Colonial Penn Life insurance Company, et al.

                         CIVIL CASE COVER SHEET                                                 Complex Case Designation                                  EASE NUMBER:
             [_X] Untimited                         iL}     Limited                        ["]        Counter               [71     doinder
es Ad




                               oe       d                   Soman dig                 Filed with first appearance by defendant                            [ionce.
                                 32                            3MNan                            5                                  6 tan
                          exceeds $25,000)                  $25,000 or less)                    (Cal. Rules of Court, rule 3.402)                           DEPT:
                                                                liems 1-6 below must be completed (see instructions on page 2).
              1.        Check one box below for the case type that best describes this case:
                    Atte Tort                                                         Cantract                                                       Provisionally Complex Civil Litigation
                    C4] Autofp (22)                                                    -_anal       Breach of contractvwarranty (06)                 (Cal. Rules of Court, nies 3.400-3.403)

                                                                                      _ ~} Rule 3.749 collections (08)                                =            Antitrust/Trade regulation {63}
                                                                                                                                                                4 Construction defect (10)
                   Other PYPDIWD (Pereoial tinjuryiProperty                            —_ a         Other collections (09}
                    Damape/Wrongfut Death) Tart                                       aa                                                                         ij Mass tort (40)
                                                                                             1 insurance        coverage (18)
                    [CT] Asbestos (04)
                                                                                      beeen:
                                                                                                                                                                ‘| Securities litigation (28)
                                                                                      C    a        Other contract (37}
                    [ =]        Product liability (24)                                Real Property                                                              | Environmenial/Toxis tort (36)
                    f
                    5
                              ; Medical maipractice (45)                              prey             :          aoa    .                            acnoees
                                                                                                                                                                 {| Insurance coverage claims arising frarn the
                        ——l                                                           Lj            Eminent comainiinverse
                    [TT] Other PYPDAWD (23)                                            =" condemnation (14)                                                        ee       4

                    Non-PHPDAVD (Other) Tort                        [~~]                            Wrongful eviction (33)                           caibartccal Judgment
        >|          [CU] Business torfuntair business practice (07) [_]                             Other real property (26)                         I") Enforcement of judgment (20)
                    [] Civil righis (08)                                              Uiniawtut oealter                                              Miscellaneous Civil Complaint
                                Defamation (43}                                       io            Commercial (37)                                  CT]           Rico 7}
                    i}
        21          [7]         Fraud (16)                                            La            Residentia ($2)                               [7]              Other complaint (not specified above} (42)
                    [-""] Intellectual property (19)                                  [| Dnags (98)                                                  Miscellaneous Civil Petition
                    [__]        Professional negligence (25)                          Judicial Review-                                            -                Partnership       and co                   .          i
                    P<          Other non-PEPDAWD         tort (38)                   i -           Asset forfaliure (05)                         (_ “]             aftnership and     corporaie         governance {27}

                    Employment                                                        [7]           Petition re: arbitration award (11)           L___} Other petition (not specified above} (43)
                    [|          Wrongful termination (36)                             [___} Writ of mandate (02)
                    P"]_ Other employment(15)                                         [| Other judicial review (38)
             2.         This case       [xX]   is        [|isnot               cornplex under rule 3.400 of the California Rules of Court. if the case is cormnplex, mark the
                          fac pais peasy exceptional judicial managernent:
                        a.      [_] Large number of separately represented parties © d.                                [777] Large number of witnesses
                        b, aa       Extensive motion practice raising difficult or novel ea.                           [”} Coordination with related actions pending in one or more
                                      issues thai will be time-consuming lo resolve                                               courts in other counties, states, or countries, ar in a federal
                        c. |__|] Substantial amount of documentary evidence               court
                                                                                                                  f.
                                                                                    [""] Substantial postiudgment judicial supervision
             3.         Remadies sought (check aif that apply):a. [C1 moneiary b. [x ] nonmonetary; declaratory or injunctive relief c. [X"] punitive
             4,         Number of causes of action (specify):1
             5.         Thiscase [x] is                  [isnot                a class action suit.
             6.          If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.}
             Date: November 20, 2023                                                                                                          / >:                                        coco ete
             Todd M. Friedman                                                                                                >        Cy          L                    onan
                                               {IYPE OR PRINT NAME}                                                                             ISIGNATURE OF PARTY OR ATTORNEY FOR PARTY}
                                                                                           NOTICE
                        Plaintiff must file ihis cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                        under ihe Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                        in sanctions,
                        File this cover shee in addition to any cover sheet required by local court rule.
                        if this case is complex under rule 3.400 et seq. of the California Rules of Court. you mus! serve @ copy of this cover sheet on all
                        other parties to the action or proceeding.
                        Unless this is a collections case under rule 3.740 of a complex casa, this cover sheel will be used for statistical purposes only.
                                                                                                                                                                                                                        Page 7 off

                                                                                           CIVIL CASE COVER SHEET                                                      oe   Cal. Standards of Ju
                                           INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                           CM-016
    To Plaintiffs and Others Filing First Papers.        tf you are filing a first paper (for example, a complaint) in a civil case, you must
    complete and file, along with your firs! pager, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
    statistics about the types and numbers of cases filed. You must complete items 71 through 6 on the sheet.                  in item 1, you must check
    one box for the case type that best describes the case. If the case fits both a general and a more specific type of case fisted in item 1,
    check the more specific ane, tf the case has multiple causes of action, check the box thai best indicates the primary cause of action.
    To assist you in completing the sheet, examples of the cases that belong under each case type in Hern 1 are provided below. A cover
    sheet must be filed anly with your initial paper. Failure io file a cover sheet with the first paper filed in a civil case may subject a party,
    iis counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
    To Parties in Rule 3.740 Collections Cases. A “collections case" under nile 3.740 is defined as an action for recovery of money owed
    in 2 sum stated to be certain that is not more than $25,000, exclusive of interest and atlorney’s fees, arising from a trarisaction in which
    property, services, or money was acquired on credil. A collections case does not inchide an action seeking the following: {1} tort
    damages, (2) punitive darnages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
    attachment. The identification of a case as a nile 3.740 collections case on this form means that il will be exernpt from the general
    time-for-service requirements and case management rules, unless a defendan! files a responsive pleading. A rule 3.740 collections
    case will be subject to the requirernents for service and obtaining a judgment in rule 3.740,
    To Parties in Complex Cases. in complex cases only, parties must also use the Civil Case Cover Sheat to designate whether the
    case is compiex. Ifa plaintiff belleves the case is complex under rule 3.400 of the Callfornia Rules of Court, this must be indicated by
    compieling the appropriate boxes in items 1 and 2. if a plaintiff designates a case as complex, the cover sheet must be served wilh the
    complaint on ail parties to the action. A defendant may file and serve no later than the time of ils first appearance a joinder in the
    plaintiffs designation, a counter-designation that the case is not carnplex, or, if the plaintiff has made no designation, a designation that
    the case is complex.                                    CASE TYPES AND EXAMPLES
     Auto Tort                                         Centract                                              Provisionally Complex Civil Litigation (Cal.
         Auts (22)}-Personal injury/Property              Breach of Contract/Warranty (05}                   Rules of Court Rules 3.460~3.493}
               Damage/Wronghd          Death                  Breach of Rental/Lease                              Antitrust/Trade Regulation (033
             Uninsured Motorist (49) (if the                      Contract (not uniawlul deiainer                 Construction Defect (18)
             case involves an uninsured                                    or wrongful eviction}                  Claims involving Mass Tort (40)
             motonst claim subject te                             ContractWarranly Breach—Seller                  Securities Litigaiion (28)
             arbitration, check this item                              Plaintiff (not fraud ar negligence}        Environmental/Toxic Tort (30)
             instead of Auta}                                     Negligent Breach of Contract’                   insurance Coverage Claims
     Other PUPD/WD (Personal injury!                                  Wararily                                         fanising from provisionally complex
     Property Damage/Wrongfui Death)                              Other Breach of ContractWarranty                     case iype listed above) {41}
     Tart                                                  Coll     stions (6.g., money owed, cpen           Enforcament of Judgment
            Asbestos (04)                                         book accounts) (09}                           Enforcement of Judgment (263
              Asbastos Property Damage                            Collection Case-Sellar Plaintiff                 Abstract of dudgrnent (Out af
              Ashesios Personal Injury/                           Other Promissory Note/Callections                      County}
.
                   Wrongful Death                                     Case                                      Gorfession of Jucgment (non-
            Producti Liability (not asbestos or            insurance Coverage (not provisionally                    domestic relations}
               foxicfenviranmental) (24)                       complex} (18)                                    Sister State Judgment
*
            Medical Malpractice (45}                              Auto Subrogation                              Administative Agency Award
                Medical Maipractice-                           Other Coverage                                        {poi unpaid taxes}
                        Physicians & Surgeons              Other Contract (37)                                   Pettion/Gertification of Eniry of
            Other Profassiona! Health Care                     Contractual Fraud                                    Judgment on Unpaid Taxes
                  Malpractice                                  Gthar Coniract Dispute                           Other Enforcement of Judgment
            Other PYPDAVE (23)                         Real Property                                                 Case
                Pramises Liability (¢.g., slip             Eminent Domainv/irverse                           Miscellaneous Civil Complaint
                     and fal}                                  Condemnation (14)                                RIGO {27}
                intentional Bodily Infurw/PDAVD            Wrongful Eviction (33)                               Other Complaint (not specified
                      fe.g., assault, vandalism}           Other Real Property (e.g., qulet tile} (26)               above) (42)
                infantional infliction of                         Writ of Possession of Real Property                Declaralory Reilef Orly
                        Ernotional Distrass                       Mortgage Foreclusure                               injunctive Relief Only (non-
           Negligent infliction of                                Suis Tite
                                                                                                                          harasamenti
                Emotional Distress                                Other Real Property (not eminent                   Mechanics Lien
           Other PUPDAWD                                          domain, iandiordjenant, or
                                                                                                                     Other Coramerciai Compiaint
     Non-PYPDAVD (Other) Tort                                     foreciosure}
                                                                                                                          Ca          iorlnor-camplex} v
            Business Torl/Unfair Businass              Uniawful Detainer
               Practice (073                               Commercial (34)                                               {ror-torinen-comples}
            Civil Rights (e.¢., discrimination,            Residantial (32}
                                                                                                             Miscellaneous Civil Patition
                false arrest) (not civil                   Drugs (38) tf fhe case invalves illegal              Parinershig and Corporate
                harassment} (G8)                           drugs, check this item, otherwize,                       Gove
            Defamation (e.g., slander, libet}              report as Cornmercial or Residential                 Other Pe
                                                       Judicial Review
                 (13)
            Fraud {18}                                    Asset Forleiture (05)                                     Chil Harassment
            intellectual Property (19)                     Petition Re: Arbitration Award (14)
                                                                                                                    Workplace  Violence
            Professional Nagligence (25)                   Wirt of Mandate      (02}
                                                                                                                    Rider/Dependeni Adult
               Legal Malpractice                                Wrt-Adminisirative Mandamus
                                                                                                                         Abuse
               Other Professional Malpractice                  Wri-Mandamius on Limited Court
                (not medical or lagai}                             Case Maiter
                                                                                                                       sition for Name Change
         Other Non-PUPBIWD Tort (35)                            Writ-Other Limited Count Case
                                                                                                                    Fetition for Ratief From Late
     Employment                                                    Review
                                                                                                                          Claim
         Wrongful Termination (36)                           ther Judicial Review (39)                              Other Civi Patition
            Other Employrnent (15}                                Review of Health Officer Ordar
                                                                  Notice of Appea!-Labor
                                                                        Cammissioner Appeals
    UM-010 Rev. Santermber 1, 2021}
                                                                  CML CASE COVER SHEET                                                                 Page 2 of 2
                                                                                                 ORIGINAA« — ,.,....
                                             SUMMONS                  BY             cAX                          Gaus af © alltornta)
                                                                                                               Superior
                                     (CITACION JUDICIA                                                          Sacramento
NOTICE TO DEFENDANT:                                                                                            41/27/2023
(AVISO AL DEMANDADO):                                                                                           :
                                                                                                                johnsok
 COLONIAL PENN LIFE INSURANCE COMPANY, and DOES 1
 through 100,                                                                                                   By                                     , Deputy
YOU ARE BEING SUED BY PLAINTIFF:                                                                                23CV012045
{LO ESTA DEMANDANDO EL DEMANDANTE):
 MARK COLE, on Behalf of Himself and All Others Similarly Situated,


 NOTICE! You have been sued. The couri may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons arid legal papers are served on you to file a wrilttan response al this court and have a copy
 served on ihe plaintiff. A ietter or phone call will not protect you. Your written rasponse must be in proper legal form if you want the court to hear your
 case. There may be a court forrn that you can use for your response, You can find these court lorms and more information at the California Gourls
 Online Self-Help Center (www. courtinfo.ca.gov/setfhelp), your county law library, or the courthouse nearest you. If you cannot pay the fling fae, ask
 the court clerk for a fee waiver form. If you do nol file your resporise on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requiramants. You may want fe call an attorney right away. If you do nat know an aticrnay, you may want to call an attorney
 referral service. if you cannot afford an attorney, you may be eligible for free legal services from a nonprofil legal services program. You can locate
 iness nonprofit groups at the California Legal Services Web site (www /awhelpcalifornia.org), the California Courls Oniine 8             sip Centar
 {waw.courtinfo.ca.gov/selfhelp}, or by contacting your local court er county bar association. NOTE: The court has a statutery Hen        for waived fees anc
 costs on any setilement or arbitration award of $10,060 or more in a civil case. The court's fien must be paid before the court will disrniss the case.
 jAVISO! Lo han demandado. Si rio responde dentro de 3G dias, ia carte puede decidir en su conira sin escuchar su version. Lea ia informacion
 continuacion,
    Tiene 30 DIAS DE CALENDARIO después de que je entreguen esta citacién y papeles legaies para presentar una respuesta gor escrito en esta
 corte y hacer que se entregue una copia ai deraandante. Una catta o una Hamada telefénica no ia protegen. Su respuesia por escrito tiene gue estar
 en formats legal correcto ai desea que procesen su caso en la corte. Es posible que haya un forrnulario que usted pueda usar para su respuesta.
 Puede encontrar         estos formularios de ia corte y mas informacion en ef Centra de Ayuda de jas Cories de California (www sucorte.ca.gov), en fa




                                                                                                                                                              XW, fA a
 bibhoteca de leyes de su condado o en la corte que ie quede mas cerca, Si no puede pagar la cuoia de presentacién, pida al secreiario de la corte
 gue le dé un formulario de exencion de pago de cuatas. Si no presenta su respuesta a tiernpo, puede perder el caso por incuriplimiento y la corte le
 padré quitar su suelda, dinero y-bienes sin mas adveriencia.
   Hay otros requisiios iegates. Es recomendatie que ilame a un abogado inmediatamente. Sino conace a un abogado, puede Hamar a un servicio ¢
 remision a abogados. Si no puede pagar a un abogado, es posible que curnpla con los requisitos para obtener servicios iegales gratuites de un
 programa de servicios legaies sin fines de jucro, Puede encontrar estos grupos sin fines de iucro en el sitio web de California Legai S revviCes,
 faww.lawhelpcalifarnia.org}, en ef Centro de Ayuda de las Cortes de Califomia, (aww.sucorte.ca.gov) o poniéndose en contacto con ia corte o 3!
 colegio de abogados locales. AVISQ: Por ley, fa corte tiene derecho a reciamar las cuotes y fos costes exenios por imponer un gravarien schre
 cualquier recuperacién de $10.C0G 6 mas de valor recibida medianie un acuerde o una concesién de arhitraje en un case de derecho civil, Tiene que
 pagar ef gravamen de la corte antes de que ia corte pueda desechar el caso.

The name and address of ihe court is:                                                                      CASE NUMBER:
(El nombre y direccién de fa corte es): Gordon D. Schaber Courthouse                                       (Nuimero det Caso)
 720 9th Street
 Sacramento, CA 95814
The name, address, and telephone number of plaintiff's aitorney, or plaintiff without an atlorney, is:
(Ef nombre, la direccion y el numero cle teiéfono del abogado del demandante, o del demandante que no tlene abogado, es):
Todd M. Friedman, Adrian R Bacon 21031 Ventura Blvd., Ste. 340 Woodland Hills, CA 91364, 323-306-4234

                                                                                                                                                        , Deputy
(Fecha)                                                                          ({Secreiario}                                                            fAdjunto}
(For proof of service of this summons, use Proof of Service of Summons (form POS-016).}
(Para prueba de entrega de esta citation use ef formulario Proof of Service of Surnmons, 4
                                   NOTICE TO THE PERSON SERVED: You are served
  [SEAL]                           {
                                           as an individual defendant.
                                         2. []      as the person sued under the fictitious name of (specify):


                                         3. [—]     on behalf of {specify}:

                                             under, ["]      cep 416.10 (corporation)                                 CCP 416.68 (minor}
                                                    [|       COP 416.20 (defunct corporation)                         OCP 416.70 (conservatee}
                                                    [|       CCP 416.40 (association or partnership) [~~]             CCP 416.90 (authorized person}
                                                             other (specify):
                                         4. [7]     by personal delivery on (date):
 Form Adopted for Mant
                                                                          SUMMONS                                               Cove of
   Judicial Councit o
  SUM-M00 Iev.
